AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01757(1,2)
                                                            §
(1) Cierra Olmos                                            §
(2) Jesus Ivan Valadez                                      §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about July 25, 2022 in Dimmit county, in the WESTERN DISTRICT OF

TEXAS defendant(s) did, conspire with and other unnamed co-conspirators, to transport, or move or attempt

to transport or move, certain persons, knowing or in reckless disregard of the fact that that such persons

were aliens illegally present in the United States, a felony,

in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(v)(I)

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                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On July 25, 2022, defendants, Cierra Olmos and Jesus Valadez, both U.S. Citizens, were

arrested near Carrizo Springs, TX for conspiracy to transport two illegal aliens into the U.S. Defendants were

encountered driving a white 2015 Toyota Corolla at the Border Patrol Checkpoint on FM 2644.                 During

primary inspection agents determined defendants were transporting illegal aliens. Agents further discovered

a 9mm Ruger

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           De Milio, Gregory D.
                                                                           Border Patrol Agent

07/28/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
CONTINUATION OF CRIMINAL COMPLAINT

                               WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                            Case Number: DR:22-M -01757(1,2)

               (1) Cierra Olmos
            (2) Jesus Ivan Valadez

Continuation of Statement of Facts:

Piston in the glove compartment with a fully loaded magazine with no round in the chamber (VALADEZ claimed
ownership). Agents also found 3g of heroin and 2 Xanax pills. VALADEZ also had methamphetamine on his
person. OLMOS stated she picked up the subjects in Eagle Pass, was forced to drive and later found the subjects
were illegal aliens. VALADEZ admitted picking up and transporting the illegal aliens to San Antonio, TX for
$2,000 USD per person."




______________________________
Signature of Judicial Officer                                 Signature of Complainant
